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Clerk of the Court

Attn: M. Regina Thomas

United States Bankruptcy Court

County of Fulton

Room 1340

75 Ted Turner Drive, SW

Atlanta, Ga 30303

Re: Chapter 7 Bankruptcy Petition; Withdrawal

      21-57421-wIh

Dear Clerk:

I hope this letter finds you well. Thank you for your time. I have filed for bankruptcy as an
attempt to get control of my debt but after my initial meeting of the creditors, I would like to
withdraw my petition for bankruptcy. It is in my best interest, as remarked, I do not have a large
amount of debt or assets and, especially after having taken the required course, I would like to
work towards repayment and setting up a plan to pay back these creditors; now knowing all that
I owe.

In addition to this, I also just had a recent stay in the hospital. I was not well but this is to say
that even if I were to continue to file, I would've liked to include that in my petition.

Enclosed please find:

    1. One original and one copy of the following documents:
       HOSPITAL VISIT NOTATION.
    2. A self-addressed, stamped envelope

I would like to continue making responsible decisions in taking care of my debt and would like
your assistance in withdrawing my petition so I can do so. Please let me know if there is
anything I need to do in assisting with this; thank you for your help in advance and again I hope
this finds you well. I am in an attempt to manage my debt and would like this opportunity to do
so.
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If needed, I am also requesting that you provide me with a hearing date on this matter at least
six (6) weeks after the date of this letter.

Thank you for your attention to this matter.



                                                 Sin   ely,




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                                         Document      Page 3 of 5




                                         Emory Healthcare

                  Emory University Midtown Hospital 404-686-2435

                        Emory University Hospital 404-712-7100

                              Emory Johns Creek 678-474-7100



                             Work/School Release Form 24 Hours



This notice verifies that your employee/student, BAILEY, SHAMOYA , was seen in this facility on
11/14/2021 23:11:51.



He/She requires 24 hours off from work/school. After this time they may return to their normal
activity at work or school



NOTE: if symptoms continue and the employee is unable to perform the full duties of their job by
this date, please advise the employee to return to this facility or make an appointment with the
referral physician for further evaluation.




Emergency Department Attending Provider
Deal, Anna K
               Smith, Micah P




          Last Name BAILEY           MRN (Encounter Alias) CLH_003536194   FIN NBR (Encounter Alias) 70775981318
                                                  17 of 18
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                                           Document      Page 4 of 5




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Emergency Department Attending Provider
Deal, Anna K
               Smith, Micah P




          Last Name BAILEY               MRN (Encounter Alias) CLH_003536194   FIN NBR (Encounter Alias) 70775981318
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